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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
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                                        Filed: January 17, 2018

Mr. J. Nicholas Bostic
909 N. Washington Avenue
Lansing, MI 48906

Mr. Joseph T. Froehlich
Office of the Attorney General of Michigan
P.O. Box 30736
Lansing, MI 48909

                Re: Case No. 17-1072, Julie Peffer, et al v. Mike Stephens, et al
                    Originating Case No. : 1:15-cv-00078

Dear Counsel,

   The court today announced its decision in the above-styled case.

   Enclosed is a copy of the court's opinion together with the judgment which has been entered
in conformity with Rule 36, Federal Rules of Appellate Procedure.

                                        Yours very truly,

                                        Deborah S. Hunt, Clerk



                                        Cathryn Lovely
                                        Deputy Clerk

cc: Mr. Thomas Dorwin

Enclosures

Mandate to issue.
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                           RECOMMENDED FOR FULL-TEXT PUBLICATION
                               Pursuant to Sixth Circuit I.O.P. 32.1(b)
                                       File Name: 18a0013p.06

                   UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT



 JULIE PEFFER; JESSE PEFFER,                               ŉ
                                  Plaintiffs-Appellants,   Ň
                                                           Ň
                                                           >     No. 17-1072
        v.                                                 Ň
                                                           Ň
                                                           Ň
 MIKE STEPHENS,                                            Ň
                                  Defendant-Appellee.      Ň
                                                           ŋ

                          Appeal from the United States District Court
                     for the Western District of Michigan at Grand Rapids.
                     No. 1:15-cv-00078—Gordon J. Quist, District Judge.

                               Decided and Filed: January 17, 2018

                Before: BOGGS, BATCHELDER, and BUSH, Circuit Judges.

                                       _________________

                                           COUNSEL

ON BRIEF: J. Nicholas Bostic, Lansing, Michigan, for Appellants. Joseph T. Froehlich,
OFFICE OF THE MICHIGAN ATTORNEY GENERAL, Lansing, Michigan, for Appellee.
                                       _________________

                                            OPINION
                                       _________________

       JOHN K. BUSH, Circuit Judge. This appeal requires us to determine the extent of the
Fourth Amendment’s requirements for an affidavit supporting a warrant to search the residence
of an individual suspected of committing a crime involving the use of a computer.

       That issue figures prominently in Plaintiffs Julie and Jesse Peffer’s appeal of the district
court’s grant of summary judgment in favor of Defendant Mike Stephens, a detective sergeant
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with the Michigan State Police, as to the Peffers’ 42 U.S.C. § 1983 claim. This claim arises from
a search of the Peffers’ home in Reed City, Michigan, and from the seizure of computer
equipment and other items and documents from this residence pursuant to a warrant issued on
the basis of Sergeant Stephens’s sworn affidavit. According to the Peffers, the affidavit (which
was incorporated into the warrant by reference) failed to support a finding of probable cause for
the search and seizure because it did not sufficiently allege any criminal activity or any
connection between such activity and the house.

         The district court granted summary judgment for Sergeant Stephens, holding that the
warrant was supported by probable cause and that, in the alternative, Sergeant Stephens was
entitled to qualified immunity.1 For the reasons explained below, we affirm.

                                                          I

                                             A. Factual Background

         Because the district court granted summary judgment, we review the facts “in the light
most favorable to the nonmoving party.” Tennial v. United Parcel Serv., Inc., 840 F.3d 292, 301
(6th Cir. 2016). Briefly stated, the relevant facts are these:

         In March 2011, Mr. Peffer met Tom Beemer at Beemer’s medical-marijuana dispensary,
where Mr. Peffer was purchasing medical marijuana. By June 2011, Mr. Peffer had become a
caregiver for several medical-marijuana patients, for whom he grew marijuana sufficient to cover
their medical-marijuana needs. Based on his understanding of state law, when Mr. Peffer’s
marijuana plants produced more marijuana than was needed for his patients, he would sell the
excess to Beemer to be sold at Beemer’s dispensary.2



         1
           The district court did not rule on qualified immunity in those terms exactly, instead holding that the Leon
good-faith exception applied. Given that “the same standard of objective reasonableness that we applied in the
context of a suppression hearing in Leon . . . defines the qualified immunity accorded an officer whose request for a
warrant allegedly caused an unconstitutional arrest,” Malley v. Briggs, 475 U.S. 335, 344 (1986), we proceed as if
the district court had held that qualified immunity applied.
         2
          One of the officers involved in Mr. Peffer’s arrest contested Mr. Peffer’s understanding of Michigan law.
Because it is not germane to the matter before us, we need not resolve this disagreement, nor comment more
generally on the legality of Mr. Peffer’s trade under state or federal law.
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       Unbeknownst to Mr. Peffer, Beemer became a confidential informant for both the Central
Michigan Enforcement Team and the Traverse Narcotics Team (“CMET” and “TNT,”
respectively). Beemer attempted to persuade Mr. Peffer to sell him more marijuana than was
allowed under the Michigan Medical Marihuana Act, an offer that Mr. Peffer declined. On June
13, 2012, having become suspicious of Beemer’s actions, Mr. Peffer agreed to meet with him.
While en route, Mr. Peffer was the subject of a traffic stop executed by Officers Coon, King, and
Edinger. The officers found fifteen ounces of marijuana in Mr. Peffer’s vehicle. At that time,
Mr. Peffer had six patients, which he understood to allow him to possess a total of fifteen ounces
of marijuana, based on a calculation of 2.5 ounces of marijuana per patient. As of June 1,
however, he had only three patients who were medical-marijuana eligible, thereby lowering the
quantity of marijuana he could possess under Michigan law to 7.5 ounces. The officers arrested
and charged Mr. Peffer with possession with intent to distribute and conspiracy to distribute
marijuana.

       On February 22 and 25, 2013, the Mecosta Osceola Office of Child Services and the
Reed City Public School District received typewritten letters, both dated February 21 and
purporting to be from Jason Coon of CMET. Coon was one of the officers who had arrested
Mr. Peffer, though he was not identified as such in the letters. Although not identical, the letters
were similar in content. They suggested that a Mr. Thomas A. Beemer had been engaged in the
distribution of controlled substances but had “in exchange for immunity/leniency in
sentencing . . . agreed to become a confidential informant.” The letters went on to express
concern for the welfare of Beemer’s children.

       Officer Coon denied writing or sending the letters. Sergeant Lator, who was assigned to
investigate the letters, suspected that the sender was someone with whom Officer Coon had
interacted during his time assigned to CMET. Based on his CMET experience, Officer Coon
thought Mr. Peffer to be the primary suspect. Trooper Glentz, who later assumed responsibility
for the investigation, followed up with Officer Coon. The latter justified his suspicion of
Mr. Peffer on the grounds that Beemer had been instrumental in setting up a sting operation that
resulted in Mr. Peffer’s arrest before the suspicious letters were sent, and that Mr. Peffer had
lived in Reed City.
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        Detective West, who assisted in the investigation, identified five possible suspects, two of
whom were the Peffers. Two of the other suspects had been arrested in circumstances similar to
Mr. Peffer’s, based on information received from Beemer. The third suspect had been arrested
on his way to sell cocaine to Beemer, and, although the record does not directly indicate that
Beemer provided information that led to that arrest, the substantial similarities among the four
arrests suggest this to be the case.

        On March 29, 2014, Trooper Glentz received two packages in the mail, each of which
contained what appeared to be marijuana seeds. The packages had been returned for insufficient
postage to Trooper Glentz’s residence, which was the return address on the packages. Trooper
Glentz denied that he sent the packages.

        On June 16, 2014, in exchange for the prosecutor’s dropping the other charges against
him, Mr. Peffer pleaded no contest to the making of false pretenses in relation to his June 13,
2012, arrest.

        In July 2014, Sergeant Stephens was contacted by Lieutenant Abendroth of CMET, who
informed him that a number of fliers of two types had been mailed to businesses and residences
in the areas of Grand Rapids and Reed City. The first type of flier contained a picture of
Beemer, identifying him as a confidential informant, an ostensibly official list of charges against
Beemer that had been ordered nolle prossed, and a request to contact CMET or TNT should
readers have any information concerning Beemer. The second type of flier contained the same
picture and list of charges, but also included the following message: “Hi, my name is Tom
Beemer. I owned a dispensary in Big Rapids and was shut down because of the charges listed
below. Peter Jaklevic as prosecutor set me free. Please vote for Peter Jaklevic for District Judge.
Friend of criminals.”

        Lieutenant Abendroth told Sergeant Stephens that he believed that Mr. Peffer had
authored the fliers, as well as the earlier letters, because Mr. Peffer was the only individual about
whom Beemer had provided information to both CMET and TNT. Additionally, the original
letters had been sent at approximately the same time that Mr. Peffer became aware that Beemer
had provided information to the police, and the fliers dated from around the time of Mr. Peffer’s
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sentencing, which Jaklevic had attended. Because the other three suspects were involved only
with CMET, but not TNT, Sergeant Stephens decided not to investigate them further.

       On July 31, 2014, Sergeant Stephens obtained a warrant from a magistrate to search a
house located at 21271 Bierri Road in Reed City. This residence was owned in fee simple by
Mr. and Mrs. Peffer. Sergeant Stephens’s affidavit provided details as to the letters that had been
sent, the suspected marijuana seeds, the fliers, and the potential connections between Mr. Peffer
and the mailings. The warrant authorized the following personal property to be searched for at
the house and, if found, to be seized and searched: (1) “records, files, or documents pertaining to
Thomas Owen Beemer and his role as a confidential informant and/or dismissal of charges in”
certain courts, with “documents” described as including “records or documents which were
created, modified . . . or interpreted by a computer” and more specifically identified to include
certain computer hardware, computer-related equipment, peripheral and storage devices,
software and other items used for computer operation, communication, encryption, and access, as
well as electronic mail (“e-mail”) and other electronically stored communications or messages;
and (2) “[a]ny and all mailing items including but not limited to envelopes, address labels, and
stamps that match the items seized in this investigation.” The magistrate issued the warrant,
finding that probable cause existed for the specified searches and seizures based on the affidavit
in which Sergeant Stephens detailed his assertion of probable cause that the house “may contain
evidence of the crime of Impersonating a Police Officer and Witness Intimidation.” The warrant
did not rely on evidence related to marijuana cultivation, possession, or distribution as a basis for
finding probable cause for any search or seizure.

       On the same day the warrant issued, Sergeant Stephens and five other officers with
CMET and TNT executed the warrant on the Bierri Road residence. The officers seized a
number of items, including a laptop, two computer towers, two printers, a digital video recorder,
an audio recorder, and a number of envelopes, stamps, and papers.             After the subsequent
investigation of the seized items concluded, prosecutors declined to pursue any criminal charges
against the Peffers.
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                                  B. Procedural Background

       On January 28, 2015, the Peffers sued Sergeant Stephens and other defendants, alleging
violations of 42 U.S.C. § 1983 stemming from the traffic stop of June 13, 2012, and the home
search of July 31, 2014, as well as violations of Michigan law relating to the State’s retention of
money and goods belonging to the Peffers.

       As is pertinent to this appeal, the Peffers alleged that Sergeant Stephens’s affidavit lacked
facts sufficient to support the magistrate’s finding that there was probable cause to search the
Bierri Road residence because the affidavit failed to establish that a crime had been committed or
that a nexus existed between the alleged crimes and the house, in part because it failed to
establish probable cause to believe that Mr. Peffer had committed the alleged crimes.
The Peffers further alleged that Sergeant Stephens’s reliance on the warrant was unreasonable,
rendering qualified immunity inapplicable.

       The district court rejected both arguments and granted Sergeant Stephens’s motion for
summary judgment, and the Peffers timely appealed.

                                                II

       We review de novo a district court’s grant of summary judgment. Watson v. Cartee,
817 F.3d 299, 302 (6th Cir. 2016). Summary judgment is appropriate when “no genuine dispute
as to any material fact” exists and the moving party is entitled to judgment as a matter of law.
Fed. R. Civ. P. 56(a). A genuine dispute of material fact exists “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,
Inc., 477 U.S. 242, 248 (1986).

       The Fourth Amendment begins: “The right of the people to be secure in their persons,
houses, papers, and effects, against unreasonable searches and seizures, shall not be violated.”
U.S. Const. amend. IV. “Where a search is undertaken by law enforcement officials to discover
evidence of criminal wrongdoing, . . . reasonableness generally requires the obtaining of a
judicial warrant.” Vernonia Sch. Dist. 47J v. Acton, 515 U.S. 646, 653 (1995). Here, the parties
do not dispute that a search warrant was required. See generally Kentucky v. King, 563 U.S. 452,
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459 (2011) (“It is a basic principle of Fourth Amendment law, we have often said, that searches
and seizures inside a home without a warrant are presumptively unreasonable.”) (internal
quotation marks omitted).

       Under the Fourth Amendment, a search warrant may be issued only “upon probable
cause, supported by Oath or affirmation, and particularly describing the place to be searched, and
the . . . things to be seized.” U.S. Const. amend. IV. Probable cause exists if “the facts and
circumstances are such that a reasonably prudent person would be warranted in believing that an
offense had been committed and that evidence thereof would be found on the premises to be
searched.” Greene v. Reeves, 80 F.3d 1101, 1106 (6th Cir. 1996) (quoting United States v.
Besase, 521 F.2d 1306, 1307 (6th Cir. 1975)). “The Fourth Amendment does not require
probable cause to believe evidence will conclusively establish a fact before permitting a search,
but only ‘probable cause . . . to believe that the evidence sought will aid in a particular
apprehension or conviction.’”     Messerschmidt v. Millender, 565 U.S. 535, 552 n.7 (2012)
(alteration in original) (quoting Warden, Md. Penitentiary v. Hayden, 387 U.S. 294, 307 (1967)).

       If a search warrant does not comply with the probable-cause requirements of the Fourth
Amendment, 42 U.S.C. § 1983 provides a civil remedy for those whose constitutional rights
were violated. See, e.g., City of Ontario v. Quon, 560 U.S. 746, 753–54 (2010). But state actors
are shielded from § 1983 liability for civil damages—that is, they are entitled to qualified
immunity—“insofar as their conduct does not violate clearly established statutory or
constitutional rights of which a reasonable person would have known.” Pearson v. Callahan,
555 U.S. 223, 231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). “Qualified
immunity gives government officials breathing room to make reasonable but mistaken
judgments, and protects all but the plainly incompetent or those who knowingly violate the law.”
Messerschmidt, 565 U.S. at 546 (internal quotation marks and citation omitted).

       In the context of searches and seizures, “police officers are entitled to rely on a judicially
secured warrant for immunity from a § 1983 action for illegal search and seizure unless the
warrant is so lacking in indicia of probable cause, that official belief in the existence of probable
cause is unreasonable.” Yancey v. Carroll Cty., 876 F.2d 1238, 1243 (6th Cir. 1989). That is
because “the fact that a neutral magistrate has issued a warrant is the clearest indication that the
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officers acted in an objectively reasonable manner or . . . in ‘objective good faith.’”
Messerschmidt, 565 U.S. at 546 (quoting United States v. Leon, 468 U.S. 897, 922–23 (1984)).
A magistrate’s issuance of a warrant, however, does not always result in qualified immunity:
there is “an exception allowing suit when ‘it is obvious that no reasonably competent officer
would have concluded that a warrant should issue.’” Id. at 547 (quoting Malley, 475 U.S. at
341).
        In a § 1983 action, it is generally the jury’s role to determine whether probable cause
supported issuance of a search warrant. Yancey, 876 F.2d at 1243. A district court therefore
should grant a defendant’s motion for summary judgment on the basis that a search warrant was
supported by probable cause only when the only “reasonable determination” that a jury could
make is that probable cause existed. Ibid.

        The Peffers offer two arguments that the district court erred in holding as a matter of law
that Sergeant Stephens’s affidavit provided probable cause for issuance of the warrant. In order
for Sergeant Stephens’s affidavit to have provided probable cause, it must have presented “facts
and circumstances . . . such that a reasonably prudent person would be warranted in believing
that an offense had been committed and that evidence thereof would be found on the premises to
be searched.” Greene, 80 F.3d at 1106 (emphasis added) (quoting Besase, 521 F.2d at 1307).
The Peffers argue that the affidavit was deficient for failing to satisfy both requirements: they
contend that no reasonably prudent person would be warranted in believing based on the
affidavit either (1) that a crime had been committed or (2) that evidence of the alleged crime
would be found at the Bierri Road residence. We address these arguments below.

                          A. The Criminality of the Alleged Conduct

        The Peffers argue that the sending of the letters to the Mecosta Osceola Office of Child
Services and the Reed City Public School District could not, as a matter of law, constitute
commission of the crimes stated in the affidavit—witness intimidation and impersonating a
police officer.    See Mich. Comp. Laws §§ 750.122(3)(a) (witness intimidation) and
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750.215(1)(c) (impersonating a police officer).3 The Peffers contend that Sergeant Stephens
therefore violated the Fourth Amendment because the affidavit did not set forth any basis to
believe that evidence of criminal activity would be found.

         We need not address, however, whether there was a Fourth Amendment violation on the
grounds that the affidavit did not properly allege that a crime had been committed. That is
because we are convinced that there was no clearly established constitutional violation and
therefore qualified immunity applies.

         Although we generally determine whether a constitutional violation occurred before we
determine whether qualified immunity applies, we need not follow this order of inquiry when
determining whether a constitutional violation occurred would require interpreting unsettled state
law.    See Pearson, 555 U.S. at 237–38 (citations omitted).                         “[W]hen the definition of
constitutional rights depends on a federal court’s uncertain assumptions about state law,” ibid., it
makes sense for the federal court to decide the issue of liability on qualified-immunity grounds
where, as in this case, the right arising from the determination would not be a clearly established
one. See also Egolf v. Witmer, 526 F.3d 104, 109–12 (3d Cir. 2008) (declining to address the
alleged constitutional violation and holding instead that qualified immunity applied to an arrest
for public indecency where “the state law questions underlying the constitutional issues were
ones of first impression for the state courts”). Here, we decline to determine whether Sergeant
Stephens’s reliance on Mich. Comp. Laws §§ 750.122(3)(a) and 750.215(1)(c) caused a
constitutional violation, because it was not clearly established that Mr. Peffer’s actions as alleged
in the affidavit did not violate Mich. Comp. Laws §§ 750.122(3)(a) or 750.215(1)(c).

         Section 750.122(3)(a) provides that “a person shall not do any of the following by threat
or intimidation: discourage or attempt to discourage any individual from attending a present or
future official proceeding as a witness, testifying at a present or future official proceeding, or

         3
          An affidavit sufficiently supports a warrant so long as it provides probable cause to believe evidence of
any crime will be found in the location to be searched, even if it does not provide probable cause to believe that
evidence of the particular crimes listed in the affidavit will be found in the location to be searched. United States v.
Anderson, 923 F.2d 450, 457 (6th Cir. 1991) (holding “that knowledge of the precise crime committed is not
necessary to a finding of probable cause provided that probable cause exists showing that a crime was committed by
the defendants”). Sergeant Stephens does not argue, however, that Mr. Peffer’s alleged actions violated any
criminal statutes other than Mich. Comp. Laws §§ 750.122(3)(a) and 750.215(1)(c).
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giving information at a present or future official proceeding.” The Peffers argue that “Defendant
Stephens makes no showing that Beemer would have . . . been a witness against [the Peffers]
since the charges against them were based on the evidence seized during the traffic stop and/or
the evidence seized at their residence” and that when Mr. Peffer pleaded guilty in 2014, it was to
false pretenses, a charge about which Beemer knew nothing.

        At the time that the letters were sent, Beemer was in possession of information pertaining
to the crimes with which Mr. Peffer was charged, making Beemer a potential witness.4 The
Peffers’ argument that any testimony that Beemer would have offered at trial was either
irrelevant or cumulative with “evidence seized during the traffic stop and/or the evidence seized
at their residence” is unconvincing, both because Beemer could have testified to Mr. Peffer’s
earlier marijuana sales and because there does not appear to be any Michigan precedent
suggesting that the intimidation of a potential witness is excused when the testimony of that
witness would be cumulative with other evidence potentially introduced at trial.

        The Peffers offer no argument beyond their assertion that Mr. Peffer’s alleged actions
would not constitute a threat or intimidation under Mich. Comp. Laws § 750.122(3)(a). We are
not aware of any Michigan case suggesting that, as a matter of law, a defendant could not be
convicted under that statute where he has sent a letter to the Department of Child Protective
Services pretending to be a police officer, writing that a potential witness “endangered his
children by maintaining a ‘Drug House’ where stock marijuana was stored, prepared, and profits
were taken, counted and stashed,” and suggesting that the police have “concerns for the minor
children.”

        Nor is it clear that, as a matter of law, Mr. Peffer’s alleged actions could not constitute
the crime of impersonating a police officer. Mich. Comp. Laws § 750.215(1)(c) prohibits anyone
from falsely representing “to another person that he or she is a peace officer . . . with the intent to
compel the person to do or refrain from doing any act against his or her will.” The Peffers assert
that “[t]he letters do not attempt to compel or dissuade anyone from going against their own free
will” and could not therefore be violative of § 750.215(1)(c).
        4
         Mr. Peffer was originally charged with possession with intent to distribute and conspiracy to distribute
marijuana, and he did not plead to false pretenses until almost two years later.
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         Nonetheless it is clear that the letters were attempting, through deception, to elicit a
response from the recipients that they otherwise would not freely undertake. The letter to the
Reed City Public School District says that “[a]lthough there hasn’t been any credible threat, I felt
you should be informed, as to take any and all necessary precautions.” And the letter to the
Mecosta Osceola Office of Child Services says, “There are concerns for the minor children.
Your help in addressing this issue will be greatly appreciated.”

         It is an open question of Michigan law whether a private citizen writing under the guise
of a police officer to request an official to perform an official action constitutes an attempt to
“compel” action under § 750.215(1)(c).5 We therefore cannot say that it is clear that Michigan
courts would find that a request from a (purported) police officer to assist minor children in
(imagined) danger is not, as a matter of Michigan law, an attempt to “compel” the recipient of
the request to act.

         Accordingly, we hold that even if the sending of the letters were not criminal under Mich.
Comp. Laws §§ 750.122(3)(a) and 750.215(1)(c), the law on this point was not clearly
established. Sergeant Stephens thus would be protected by qualified immunity from liability for
executing an otherwise valid search warrant seeking evidence that Mr. Peffer violated those
criminal statutes.

             B. The Nexus Between the Evidence Sought and the Bierri Road Residence

         We next turn to the Peffers’ contention that the warrant was constitutionally defective
because the affidavit failed to present facts sufficient to establish that “evidence thereof would be
found on the premises to be searched.” Greene, 80 F.3d at 1106 (quoting Besase, 521 F.2d at
1307).




         5
          There is a single unreported case from the Michigan Court of Appeals discussing this issue, but it is not
dispositive, in part because it analyzed an earlier version of that statute, which prohibited a person falsely
representing himself as a police officer from taking “it upon himself to . . . require any person to aid or assist him or
her in any matter pertaining to the duty of a . . . police officer.” Owen v. Unadilla Twp., No. 206769, 1999 WL
33451605, at *2 n.3 (Mich. Ct. App. Apr. 9, 1999).
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                           1. The Nexus Between Mr. Peffer and the Mailings

        The Peffers first argue that there was no connection between evidence of the mailings and
the Bierri Road residence by contending that Sergeant Stephens’s affidavit fails to lay out a
sufficient basis for the magistrate’s finding of probable cause that Mr. Peffer was the sender of
the various mailings. Because the affidavit alleges Mr. Peffer as the only link between the
mailings and the Bierri Road residence, if there was no probable cause to believe that he
originated the mailings, there would be no probable cause to believe that evidence of the
mailings would be found at the Bierri Road residence. The Peffers raise a number of points in
support of this claim, two of which warrant discussion.

        They begin by suggesting that Sergeant Stephens’s inclusion in the affidavit of the
statement that “Det. Coon informed D/Sgt. Lator that he suspected Jesse Lee Peffer . . . as being
the author and sender of the letters based on his CMET experience and contacts” was nothing
more than the “unsupported conclusion[] of Defendant Coon” and that “no facts . . . were
attested to so that the magistrate could draw his own conclusion.”

        Although the Peffers may be correct that Detective Coon’s suspicion, unsupported by an
articulation of its basis, would be insufficient to support a finding of probable cause,6 it does not
follow that because this paragraph in the affidavit cannot provide probable cause to believe that
Mr. Peffer was the originator of the mailings, the affidavit as a whole fails to do so. See United
States v. Woosley, 361 F.3d 924, 926 (6th Cir. 2004) (“The affidavit should be reviewed in a
commonsense—rather than a hypertechnical—manner, and the court should consider whether
the totality of the circumstances supports a finding of probable cause, rather than engaging in
line-by-line scrutiny.”).

        Taken as a whole, the affidavit clearly supports the magistrate’s finding of probable cause
to believe that the mailings originated with Mr. Peffer. Specifically, Sergeant Stephens averred:
(1) Beemer had provided information that led to Mr. Peffer’s arrest; (2) the letters naming
Beemer had been sent after Mr. Peffer’s arrest; (3) the fliers, which specifically named a

        6
         See, e.g., United States v. Giacalone, 541 F.2d 508, 513 (6th Cir. 1976) (en banc) (“[P]robable cause is a
showing of more than suspicion but less than guilt.”).
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prosecutor who had been present at Mr. Peffer’s sentencing, had been sent within two weeks of
said sentencing; (4) Trooper Glentz received the marijuana seeds while he was trying to contact
Mr. Peffer; (5) Mr. Peffer was the only person on whom Beemer had informed whom Trooper
Glentz had attempted to contact; (6) the fliers asked for any information regarding Beemer to be
forwarded to CMET and TNT, and Mr. Peffer was the only individual in the counties targeted by
the mailings who had been charged with crimes stemming from interactions with both CMET
and TNT; and (7) the mailings had been postmarked from Grand Rapids, which is the central
sorting facility for the area where the Bierri Road residence is located.7 We agree with the
district court that no reasonable jury could fail to find that Sergeant Stephens’s affidavit provided
“adequate supporting facts about the underlying circumstances to show that probable cause
exist[ed]” to connect Mr. Peffer to the mailings. See Weaver, 99 F.3d at 1377.

        The Peffers next assert that even if the magistrate correctly found that the affidavit
provided probable cause to believe that Mr. Peffer was connected with the mailings, Sergeant
Stephens was unable to rely on that determination because he included false or misleading
statements in the affidavit. They argue that the following three statements (italicized below) are
instances of Sergeant Stephens’s obfuscation:

        (1)      “The flyers that were recovered with envelopes showed post marks of
                 Grand Rapids, Michigan which is the central sorting facility for the U.S.
                 Postal Service for this area.” Appellants’ Br. 11 (italics added). The
                 Peffers argue that in the context of the affidavit, the phrase “this area”
                 refers to Mecosta County and Osceola County, in which the Bierri Road
                 residence is located. The Peffers argue that mail sent from the Bierri Road
                 residence in Reed City, Osceola County, is actually sorted at the Traverse
                 City sorting facility, which would indicate that the mailings were not sent
                 from the Bierri Roadresidence.
        (2)      “There are similarities in content and format between the various flyers.”
                 Appellants’ Br. 14 (italics added). The Peffers argue that this statement is
                 misleading because there are a number of differences between the
                 individual fliers as well as between the fliers and the letters, including
                 their addressees, content, and formatting.

        7
           To the extent that the Peffers contend that Sergeant Stephens came by these facts not through direct
investigation but instead through the investigations of other officers, we note that “supporting facts need not be
based on the direct knowledge and observations of the affiant.” United States v. Weaver, 99 F.3d 1372, 1377 (6th
Cir. 1998).
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       (3)     “Jesse Peffer told Dep. Start that he resides at the residence alone and
               that Julie lives in Florida.” Appellants’ Br. 16 (italics added). The
               Peffers argue that this statement was misleading because Sergeant
               Stephens failed to include the fact that Mr. Peffer’s attorney had earlier
               told Trooper Glentz that Mr. Peffer was residing in Florida.

       In order to prove that Sergeant Stephens could not rely on the magistrate’s finding of
probable cause, the Peffers would need to show both that Sergeant Stephens “knowingly and
deliberately, or with reckless disregard for the truth, made false statements or omissions that
create[d] a falsehood,” and that “such statements or omissions [we]re material, or necessary, to
the finding of probable cause.” Sykes v. Anderson, 625 F.3d 294, 305 (6th Cir. 2010) (alterations
in original) (citing Wilson v. Russo, 212 F.3d 781, 786–87 (3d Cir. 2000)). They are unable to
make this showing for any of the statements.

       Taking the evidence in the light most favorable to the Peffers, Sergeant Stephens’s
statement that “Grand Rapids, Michigan . . . is the central sorting facility for the U.S. Postal
Service for this area” was intended to convey to the magistrate that Grand Rapids was the central
sorting facility for the area including the Bierri Road residence. But mail sent from Reed City is
actually sorted through the Traverse City sorting center, which services an area adjacent to that
serviced by the Grand Rapids sorting center.

       Regardless of the truth value of Sergeant Stephens’s statement, no reasonable jury could
have found that it was material to the magistrate’s determination that there was probable cause to
believe that Mr. Peffer was the originator of the mailings. As discussed above, the affidavit
established a motive unique to Mr. Peffer for sending the mailings as well as a temporal
proximity between the mailings and the motivating incidents. That the mailings originated from
the geographical area serviced by the neighboring postal sorting center, which is easily
accessible from the Bierri Road residence, would not materially impact the determination that
there was probable cause to believe that Mr. Peffer had mailed the letters.

       The Peffers next charge that Sergeant Stephens was disingenuous in asserting that the
fliers were similar. But the fliers are, in fact, similar. They name Beemer as a confidential
informant, they list the counts with which he was charged, they are typed in the same, or very
similar, fonts, and they contain what appear to be versions of the same picture of Beemer. They
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are also similar to the letters that had been sent earlier because all the non-marijuana mailings
named Beemer as a confidential informant and were computer-generated.                               Accordingly,
Sergeants Stephens’s statement that “[t]here are similarities in content and format between the
various fliers” is not false.

        The Peffers argue that the statement was nevertheless misleading for failing to mention
the differences between the mailings, including that the letters were addressed to specific
entities, purported to be from Officer Coon, and were non-political, whereas the fliers were not
addressed to specific entities (but were mailed to specific entities), were political, and did not
purport to be from Officer Coon.8

        Sergeant Stephens could not have been exhibiting a reckless disregard for the truth when
he failed to mention these differences in his statement that the fliers share certain similarities,
because elsewhere in the affidavit he provided detailed descriptions of the mailings which, when
compared, reveal that they differ exactly in the respects described by the Peffers. Sergeant
Stephens’s statement that the fliers are similar is properly read as a conclusory summary of his
earlier descriptions, which contained all the relevant information to which he had access, and not
as a standalone statement that, if read in isolation, was potentially misleading.

        The Peffers further contend that although the statement that “Jesse Peffer told Dep. Start
that he resides at the residence alone and that Julie [Peffer] lives in Florida” is true, it misled the
magistrate by failing to mention that Mr. Peffer’s attorney had told Trooper Glentz that Mr.
Peffer was residing in Florida. The statement to Trooper Glentz was made on April 4, 2014,
almost four months before Mr. Peffer told Deputy Start in person that he resided at the Bierri
Road residence. Other than the mere fact that Sergeant Stephens omitted the earlier statement,
the Peffers have offered no evidence that Sergeant Stephens’s omission was borne of an intent to
deceive or of recklessness as to such deception. Even when an affiant has omitted information
critical to the finding of probable cause, we have expressed reticence to infer intent or
recklessness without evidence beyond the omission itself. See United States v. Colkley, 899 F.2d
297, 301 (6th Cir. 1990).
        8
         The Peffers’ brief also references a chart listing minor, but immaterial, grammatical differences among the
various mailings.
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       But even if it is possible that a reasonable jury could, in light of the false statement
regarding the sorting center, conclude that this omission was part of a general attempt to mislead
the magistrate as to the likelihood that Mr. Peffer had been in the relevant areas at the relevant
times, the Peffers cannot show that this omission was material to the magistrate’s conclusion that
there was probable cause to believe that the mailings originated with Mr. Peffer. Whether or not
Mr. Peffer spent part of his time in Florida, it is uncontested that he spent part of his time in
Michigan, which would have afforded him ample opportunity to dispatch the mailings.

               2. The Nexus Between the Mailings and the Bierri Road Residence

       Finally, the Peffers argue that even if the affidavit presented facts sufficient for a
reasonably prudent person to believe that Mr. Peffer had sent the mailings, it lacked sufficient
facts to support a reasonably prudent person in believing that evidence of those mailings would
be found at the Bierri Road residence. They base this argument on the general lack of evidence
presented in the affidavit connecting the mailings with the Bierri Road residence, and
specifically on the fact that no assertion was made that Mr. Peffer owned either a computer or a
printer or, if he did, that he kept those items at the Bierri Road residence.

       Sergeant Stephens argues that the magistrate was reasonable in finding a connection
between the Bierri Road residence and the items to be sought because the affidavit reported that
the letters and fliers appeared to be computer-generated, and that based upon Sergeant
Stephens’s training and experience, evidence of those documents was likely to be found on an
electronic storage device, which he argues would likely be kept at its owner’s residence.

       Because probable cause depends upon the belief of an idealized reasonably prudent
person, “whether an affidavit establishes a proper nexus is a fact-intensive question resolved by
examining the totality of circumstances presented.” United States v. Brown, 828 F.3d 375, 382
(6th Cir. 2016). The fact-intensive nature of the inquiry “has resulted in a wide river of cases
that courts have sought, sometimes in vain, to direct into tributaries that may be applied to
comparable fact patterns.” Id. at 381–82.

       Our analysis of the instant case starts at the river’s source—cases in which an affidavit
establishes probable cause to believe that a resident of the place to be searched has committed a
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crime, but provides no further indication that evidence of that crime will be found at the
domicile. We long ago determined that in order to support a finding of probable cause, “the
affidavit must suggest that ‘there is reasonable cause to believe that the specific “things” to be
searched for and seized are located on the property to which entry is sought’ and not merely ‘that
the owner of property is suspected of crime.’” United States v. McPhearson, 469 F.3d 518, 524
(6th Cir. 2006) (quoting Zurcher v. Stanford Daily, 436 U.S. 547, 556 (1978)).

        The requirement that there be additional reason to think that evidence of the crime will be
found in the criminal’s residence is not as onerous as it may appear. A magistrate may infer that
the evidence sought is likely to be found in the criminal’s residence based on “the type of crime
being investigated, the nature of the things to be seized . . . and the normal inferences that may
be drawn as to likely hiding places,” and “it is reasonable to suppose that some criminals store
evidence of their crimes in their homes, even though no criminal activity or contraband is
observed there.” United States v. Williams, 544 F.3d 683, 686–87 (6th Cir. 2008).

        It appears to be a question of first impression in this circuit whether the nature of a
computer is such that its use in a crime is alone sufficient to justify an inference that, because of
“the nature of the things to be seized,” ibid., evidence of the crime is likely to be found in the
alleged criminal’s residence. But this question is not a difficult one to answer based on basic
principles.

        As a general rule, it is reasonable, ceteris paribus, to assume that a person keeps his
possessions where he resides.9 This presumption is of course rebuttable and cannot always be
relied upon by a magistrate in finding a nexus between the object used in a crime and the alleged
criminal’s residence, because the “totality of circumstances presented” in the affidavit may
suggest that the object is more likely to be found elsewhere or nowhere at all. Brown, 828 F.3d
at 382. The affidavit may, for example, include evidence suggesting that the object was not
owned by the alleged criminal; that it was discarded, sold, or was otherwise disposed of; that the


        9
          See, e.g., United States v. Aljabari, 626 F.3d 940, 946 (7th Cir. 2010) (“When probable cause exists to
believe an individual has committed a crime involving physical evidence, and when there is no articulable, non-
speculative reason to believe that evidence of that crime was not or could not have been hidden in that individual’s
home, a magistrate will generally be justified in finding probable cause to search that individual’s home.”).
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alleged criminal, while retaining possession of the object, stores it elsewhere than his residence;
or that the object no longer exists.

         If an affidavit presents probable cause to believe that a crime has been committed by
means of an object, however, a magistrate may presume that there is a nexus between that object
and the suspect’s current residence, unless the affidavit contains facts that may rebut that
presumption.10

         And although we have not articulated this presumption in precisely this manner, it
underlies our previous decisions in cases analyzing the connection between the objects used in a
crime and the alleged criminal’s residence. Our jurisprudence in this area has not always been as
clear as one might hope, but an analysis of several of our nexus-jurisprudence tributaries shows
that it is not as muddled as one might fear.

         When it comes to guns, because we “have acknowledged that individuals who own guns
keep them at their homes,” United States v. Smith, 182 F.3d 473, 480 (6th Cir. 1999), a suspect’s
use of a gun in the commission of a crime is sufficient to find a nexus between the gun that was
used and the suspect’s residence. For example, in United States v. Vanderweele, an informant
told an ATF agent that he had seen Vanderweele in possession of a silencer at a clubhouse.
545 F. App’x 465, 467 (6th Cir. 2013). The agent sought a search warrant for Vanderweele’s
residence based on nothing more than the informant’s statement that Vanderweele had been in
possession of a silencer and his awareness, “based on his training and experience, ‘that firearms,
ammunition, and related items are commonly stored within the owner or possessor’s dwelling.’”
Id. at 469. We held that based on these alleged facts, “[t]he magistrate judge had reason to
believe that the silencer would be found at Vanderweele’s house,” and we upheld the warrant.
Ibid.

         This is consistent with our holdings in similar cases.11                   See, e.g., United States v.
Goodwin, 552 F. App’x 541, 546 (6th Cir. 2014) (upholding a warrant to search illegal-gun

         10
           As with all findings of probable cause, this presumption is subject to a staleness analysis. The Peffers
did not argue that any probable cause established in the affidavit had gone stale.
         11
          It is also consistent with the approach taken by many, but not all, of our sister circuits. United States v.
Anderson, 851 F.2d 727, 729 (4th Cir. 1988) (“It was reasonable for the magistrate to believe that the defendant’s
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purchaser’s residence where an affidavit established that the gun sought was valuable and that
“owners usually keep machine guns in their homes”); United States v. Cobb, 397 F. App’x 128,
133 (6th Cir. 2010) (upholding a warrant to search bank robber’s residence for the clothing and
gun he had used during a robbery because the “reasonable inference is that this clothing and gun
likely would have been in [defendant’s] possession six weeks following the final robbery”).12

         It is clear that the use of a gun in the commission of a crime is sufficient to establish a
nexus between the suspected criminal’s gun and his residence. Computers are dissimilar to guns
in many ways, including the nature of the crimes in which they are used and the relative ease
with which guns can be transported and discarded. Computers are similar to guns, however, in
that they are both personal possessions often kept in their owner’s residence and therefore
subject to the presumption that a nexus exists between an object used in a crime and the
suspect’s current residence. This is borne out by our cases involving the consumption of child
pornography via computer.

         Although we have never been asked to pass judgment on a magistrate’s finding of a
nexus between the computer used to consume child pornography and the alleged consumer’s


gun and the silencer would be found in his residence . . . even though the affidavit contained no facts that the
weapons were located in defendant’s trailer.”); United States v. Steeves, 525 F.2d 33, 38 (8th Cir. 1975) (upholding
a warrant on the basis that “people who own pistols generally keep them at home or on their persons”); United
States v. Rahn, 511 F.2d 290, 293–94 (10th Cir. 1975) (upholding a warrant because “it is reasonable to assume that
[defendant’s] house was where he kept things and it is pretty normal . . . for individuals to keep weapons in their
homes”); Bastida v. Henderson, 487 F.2d 860, 863 (5th Cir. 1973) (upholding a warrant because a “reliable
informant stated that on the day after the robbery [Defendants] were still armed with automatic pistols” and
“[a] very likely place to find them thereafter would either be on the persons of the assailants or about the premises
where they lived”). But see United States v. Charest, 602 F.2d 1015, 1017 (1st Cir. 1979) (invalidating a warrant
because there was “nothing in the affidavit from which a factual finding could be made that the gun used in the
shooting was probably located at defendant’s premises” and “[c]ommon sense tells us that it is unlikely that a
murderer would hide in his own home a gun used to shoot someone”).
         12
            This area of our jurisprudence is admittedly murky. In United States v. Bethal, the panel declined to find
a nexus between the gun the defendant used in a shooting and his residence, despite the affidavit’s asserting that the
defendant had been “identified as one of the drive-by shooters.” 245 F. App’x 460, 469 (6th Cir. 2007). Over a
dissent, the panel reasoned that because “persons accused of murders often dispose of the guns utilized in the crime
soon afterward” and “the affidavit . . . provided no indication that at the time of the search, [Defendant] was still
participating in gang-related shootings, or was seen carrying a gun,” the affidavit failed “to establish any
relationship between [Defendant]’s residence and the fair probability that weapons and drugs would be found there.”
Id. at 468–69. We question Bethal’s emphasis on ongoing criminal conduct and are not bound by this unreported
decision. See United States v. Ennenga, 263 F.3d 499, 504 (6th Cir. 2001) (“We need not concern ourselves with
any perceived inconsistency, however, because [inconsistent case] is an unpublished case and therefore not a
controlling precedent.”).
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residence based on nothing more than the use of the computer, we have placed our imprimatur
on a number of search warrants issued based on affidavits with scant evidence supporting a
nexus beyond the use of a computer. See, e.g., United States v. Elbe, 774 F.3d 885, 890 (6th Cir.
2014) (finding that affidavit established nexus because the suspect’s residence had high-speed
internet and the suspect had been observed using a laptop on his front porch); United States v.
Lapsins, 570 F.3d 758, 766 (6th Cir. 2009) (finding that affidavit established nexus because the
IP address used to distribute prohibited material was accessed by a residential modem located in
the general vicinity of suspect’s residence and that suspect had participated in an online chat
regarding prohibited material between the hours of 6:30 and 8:30 a.m., when suspect would be at
home); United States v. Terry, 522 F.3d 645, 648 (6th Cir. 2008) (finding nexus because affidavit
established that the suspect had a computer at his residence and had sent an email containing
prohibited material at approximately 2:30 a.m.).

       Just as guns, and other possessions, are generally kept in the home, so too are computers,
and so we readily find a nexus between computers used in the consumption of child pornography
and the suspected consumer’s residence.

       The principle that we are now articulating also explains why we are more reticent to find
a nexus between drugs and their distributor’s residences.          In Brown, the defendant was
apprehended leaving the location of a sale of more than 500 grams of heroin, and was found to
be in possession of $4,813 in currency. 828 F.3d at 378–80. Responding to the Government’s
argument that “the magistrate judge was entitled to infer that evidence of drug trafficking would
be found at Brown’s residence because he was a known drug dealer,” we pointed out that “we
have never held . . . that a suspect’s status as a drug dealer, standing alone, gives rise to a fair
probability that drugs will be found in his home.” Brown, 828 F.3d at 383. Recognizing that
“[i]n the case of drug dealers, evidence is likely to be found where the dealers live,” we
nevertheless held that “if the affidavit fails to include facts that directly connect the residence
with the suspected drug dealing activity, or the evidence of this connection is unreliable, it
cannot be inferred that drugs will be found in the defendant’s home—even if the defendant is a
known drug dealer.” Id. at 383–84.
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       This is because, unlike guns and computers that are used in the commission of a crime,
when drugs are used in the commission of a distribution offense, the distributed drugs are no
longer in the possession of the suspected distributor. The affidavit therefore must establish some
other reason to believe that drugs or other evidence of crime would be found in the suspect’s
residence if searched. See, e.g., United States v. Raglin, 663 F. App’x 409, 411–12 (6th Cir.
2016) (finding nexus because affidavit established that a suspect drove to the defendant’s house
directly after trafficking drugs, at which point $38,000 appeared in a purse on the roof and the
defendant’s girlfriend told officers that guns were in the house); United States v. Kenny, 505 F.3d
458, 461 (6th Cir. 2007) (finding probable cause because affidavit established that an informant
identified the defendant as the “cook” of a large ongoing trafficking operation that was taking
place on his property, which was corroborated by independent evidence); United States v.
Newton, 389 F.3d 631, 636 (6th Cir. 2004) (explaining that affidavit established that defendant
was engaged in a “continual and ongoing” drug distribution scheme), rev’d on other grounds,
546 U.S. 803 (2005); United States v. Jones, 159 F.3d 969, 974 (6th Cir. 1989) (finding that
affidavit established that defendant was seen distributing narcotics directly outside of his
domicile). Unlike drugs, guns and computers are objects that generally remain in the suspect’s
possession after commission of the crime, and therefore it is reasonable to believe those
possessions to be stored at the suspect’s residence, absent evidence to the contrary.

       Here, the affidavit included allegations that Mr. Peffer had used a computer in the
commission of his crime, that evidence of the crime would likely be found on that computer, and
that Mr. Peffer resided at the Bierri Road residence, thereby establishing a presumption that
evidence of the crime would be found at the Bierri Road residence. That the affidavit did not
allege that Mr. Peffer owned a computer or that he kept one at the Bierri Road residence is
immaterial, because the averment that he used one in the commission of a crime is sufficient to
create the presumption that it would be found at his residence. See e.g., Vanderweele, 545 F.
App’x at 469. The affidavit did not suggest any reason to believe that Mr. Peffer had used a
computer that did not belong to him, that he had thrown out or otherwise disposed of the
computer, or that he kept the computer elsewhere. Indeed, the affidavit did not suggest any
reason to believe that the computer used in the commission of the crime would not be found at
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the Bierri Road residence, and therefore the only reasonable conclusion that a jury could draw is
that a nexus existed between the evidence sought and the Bierri Road residence.

       Because Sergeant Stephens executed a valid warrant supported by probable cause as to a
connection between the mailings and the Bierri Road residence, when he searched that house,
there was no Fourth Amendment violation on this ground. Because there was no constitutional
violation, we need not address the second step of the qualified-immunity analysis, whether the
law was clearly established.
                                               III

       For the forgoing reasons, we AFFIRM.
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                            No. 17-1072


 JULIE PEFFER; JESSE PEFFER,
        Plaintiffs - Appellants,
                                                                            FILED
        v.                                                            Jan 17, 2018
                                                                  DEBORAH S. HUNT, Clerk
 MIKE STEPHENS,
       Defendant - Appellee.



                   Before: BOGGS, BATCHELDER, and BUSH, Circuit Judges.

                                        JUDGMENT
                           On Appeal from the United States District Court
                        for the Western District of Michigan at Grand Rapids.

        THIS CAUSE was heard on the record from the district court and was submitted on the briefs
without oral argument.

      IN CONSIDERATION THEREOF, it is ORDERED that the judgment of the district court is
AFFIRMED.

                                              ENTERED BY ORDER OF THE COURT




                                              Deborah S. Hunt, Clerk
